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               IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

IN RE:                            §           Case No. 22-60043
                                  §
FREE SPEECH SYSTEMS, LLC,         §           Chapter 11 (Subchapter V)
                                  §
     Debtor.                      §




                     EXHIBIT I
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                        Alex Jones Volume III
                            June 21, 2022

 NO. X- 06 - UWY - CV- 1 8 - 6046436 - S         SUPERIOR COURT

 ERICA LAFFERTY, ET AL.                          COMPLEX LITIGATION
                                                    DOCKET


 V.                                              AT WATERBURY

 ALEX EMRIC JONES, ET AL .                       OCTOBER 21, 2021


 NO. X-06-UWY-CV- 1 8-6046437-S                  SUPERIOR COURT

 WILLIAM SHERLACH                                COMPLEX LITIGATION
                                                    DOCKET


 V.                                              AT WATERBURY

 ALEX EMRIC JONES, ET AL.                        OCTOBER 21, 2021



 NO. X-06-UWY-CV- 1 8-60 4 6438-S                SUPERIOR COURT

 WILLIAM SHERLACH, ET AL,                        COMPLEX LITIGATION
                                                 DOCKET


 V.                                              AT WATERBURY

 ALEX EMRIC JONES, ET AL.                        OCTOBER 21, 2021


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              AMENDED ORAL AND VIDEOTAPED DEPOSITION

                          APPEARING REMOTELY FROM

                                AUST I N, TEXAS

                                  ALEX JONES

                                 JUNE 21, 2022

               ***************************************

                              VOLUME             III


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 1          ANSWERS AND ORAL DEPOSITION OF ALEX JONES, a

 2    witness produced at the instance of the Plaintiff, was

 3    taken in the above-styled and numbered cause on the

 4    21ST day of JUNE 2022, from 9:11 a.m. to 3:13 p.m.,

 5    before VANESSA S. ROBERTSON, CSR in and for the State

 6    of Texas, reported by machine shorthand, appearing

 7    remotely from Parker County, Texas, pursuant to the

 8    Texas Federal Rules of Civil Procedure.

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 1    REMOTE APPEARANCES:

 2
      FOR THE PLAINTIFF:
 3
            MR. CHRISTOPHER M. MATTEI
 4          MS. ALINOR STERLING
            MS. JESSICA HARTMAN
 5          KOSKOFF KOSKOFF & BIEDER, PC
            350 FAIRFIELD AVENUE
 6          BRIDGEPORT, CONNECTICUT 06604
            (203) 336-4421
 7          cmattei@koskoff.com

 8    FOR THE DEFENDANT:

 9          MR. CAMERON ATKINSON
            PATTIS & SMITH LLC
10          383 ORANGE STREET
            FIRST FLOOR
11          NEW HAVEN, CONNECTICUT 06511
            (203) 393 - 3017
12          catkinson@pattisandsmith.com

13    FOR THE DEFENDANT:

14          MR. MARIO KENNETH CERAME
            BRIGNOLE & BUSH, LLC
15          73 WADSWORTH STREET
            HARTFORD, CONNECTICUT 06106
16          (860) 527-9973
            mario@brignole.com
17

18
      ALSO PRESENT:
19
            MR. MARK HENDRIX, VIDEOGRAPHER
20

21

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 3          Q      How many cryptocurrency wallets are currently

 4    linked to the Infowars.com donation page?

 5          A      I don't -- I don ' t know the specifics.

 6    They're all linked right there.            It's all public.

 7          Q      Okay.   Who manages that for you?

 8          A      The IT department.

 9          Q      Okay.   Which is who?

10          A      I mean, right now, it's -- it's basically

11    myself and Zimmerman.        He's a consultant.        I don't

12    really understand it .       But I'm the person that manages

13    it because I'm         I mean, I've told them to set it up

14    and       that --

15          Q      Okay.    So you have access to those crypto

16    wallets, correct, personal access?

17          A      Yes .

18          Q     And so does Zimmerman, correct?

19          A      Yes.

20          Q     Anybody else?

21          A      I don't know the specifics of the technicals,

22    but it's like three people -- or you have to put like

23    three codes in.       I've only messed with it a few times.

24    It's -- all of the transactions are public, that's what

25    the blockchain does, I know that.            So it 's all right


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 1    there.

 2          Q      The transactions are public, but who is

 3    authorized to execute the transactions are limited to

 4    people who have access to the wallets, correct?

 5          A      Yeah, so I have to -- I mean,         I go in and I do

 6    it.

 7          Q      Okay.    So you personally execute the

 8    transactions within each of those wallets linked to the

 9    Infowars.com page, correct?

10          A      I mean, I -- I mean, I go in there and then

11    they explain it to me and I do it, yeah.

12          Q      Okay.   And you're in charge as to when to

13    withdraw any cryptocurrency from those wallets,

14    correct?

15          A      Yes.

16          Q      Okay.    Nobody else has authority to dispose of

17    the cryptocurrency assets in any of those wallets,

18    correct?

19          A      No.

20          Q      Beginning of -- on April 23rd of this year,

21    one of the wallets linked             one of the cryptocurrency

22    wallets linked to Infowars.com started receiving large

23    donations of cryptocurrency from a single source,

24    correct?

25          A      Yes -- well, there were other donations,


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 1    too.

 2           Q     I'm sorry?

 3           A     Can you ask your question again?

 4           Q     Sure.    Well, I think you've answered it.              I

 5    was asking what you said.

 6                              MR. ATKINSON:      Would it be helpful

 7    for the court reporter to read it back, Chris?

 8                              MR. MATTEI:      No, no, I think I have

 9    the answer.      I'm just -- oh, yeah, I'd be happy to have

10    her read back his answer.         Yes.     Thank you.

11                              THE WITNESS:      I don't need them to

12    do that.     The point is he said a single source.             We

13    got -- there was quite a few of Bitcoin donations.

14                              THE COURT REPORTER:       Do you want me

15    to read it back?

16                              MR. MATTEI:      Yeah, thank you.

17                    (Requested portion was read back.)

18           Q     (By Mr. Mattei)      So you know that I'm

19    referring to the single donor who donated over a

20    million dollars in Bitcoin on April 23rd, correct?

21           A     Yes.

22           Q     Okay.   And then there was another donation of

23    just over a million dollars on April 30th from the same

24    donor, correct?

25           A     Yes.


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 1            Q    And there was another donation on May 19th of

 2    about $5.9 million worth of Bitcoin from that same

 3    donor, correct?

 4            A    We believe it's the same donor.           We don't

 5    know.

 6            Q    Okay.   Well, according to the identifying data

 7    on the donor's wallet, it's the same wallet, correct?

 8            A    I believe so.      I don't have it in front of

 9    me.

10            Q    And your testimony is that you don't know the

11    identity of the individual responsible for those

12    donations?

13            A    I do not.

14            Q    Okay.   Do you know anybody who does?

15            A    No.

16            Q    Have you had any communication with anybody

17    representing themselves to be the donor?

18            A    No.

19            Q    And you cashed out about half of the Bitcoin

20    donated by that individual, correct?

21            A    Yes.

22            Q    And you did that personally, correct?

23            A    Yes .

24            Q    And where did those --

25            A    I don't have it in front of me, but it's more


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 1    than half.

 2           Q     And what did you do with those proceeds once

 3    you converted it to actual currency?

 4           A     I put it into a personal bank account of mine

 5    and then I've transferred most of it to -- and am still

 6    transferring it to Free Speech Systems as a capital

 7    injection.

 8           Q     And so you -- you said you have transferred

 9    and you are continuing to transfer those proceeds into

10    Free Speech Systems as a capital investment in Free

11    Speech Systems?

12           A     I don't know the technical term for it, but I

13    am -- I intend to -- to -- to spend it -- to continue

14    Free Speech's mission of promoting freedom and

15    populism, because that's what I have seen the donations

16    give as.     I don't know that -- I don't know why it was

17    given, but we were -- we've been asking for donations

18    to keep the company going.            So it's my intent to use

19    the lion share of it to continue the operation.

20           Q     And you have not yet done that, correct?

21           A     No, I      I've begun to do it.        I -- it --

22    it's       most of it is being transferred             has been

23    transferred already into there.

24           Q     Okay.    Well, let's just be clear, okay?            Of

25    the money that you cashed out and directed to your


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 1    personal bank account, how much have you transferred

 2    into Free Speech Systems?

 3           A     I don't have the exact accounting in front of

 4    me, but an example is, some has gone directly into Free

 5    Speech Systems, other has gone directly into legal

 6    bills, but the things, generally, you know, dealing

 7    with the operation of the company.

 8           Q     Well, you testified that you took a little bit

 9    more than half, right?         So you would say over

10           A     I think it's a lot -- I don't have the numbers

11    in front of me, but it's              in fact, I was going to go

12    today after this and try to do the accounting on that

13    specifics, because I want to know that.              Unfortunately,

14    we didn't transfer all of it out of Bitcoin .              And

15    Bitcoin has crashed, so that's not good.

16           Q     All right.     So you transferred about $4

17    million out from the crypto wallet to your personal

18    account after these donations were received, correct?

19           A     I don't have the numbers in front of me, but I

20    think it's more than that.

21           Q     Okay.    Is it -- is it more than 5 million?

22           A     It had already gone down so --

23                              MR. ATKINSON:      Objection to form.

24    You can answer.

25           A     I don't have the specifics.


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 1           Q      (By Mr. Mattei)      Okay.    You're -- and I'm not

 2    holding you to a precise amount here, Mr. Jones, but

 3    your testimony is that you believe that following the

 4    May 19th donation from what appears to be a single

 5    crypto donor, you executed a transaction withdrawing

 6    between 4 and $5 million from that wallet to your

 7    personal bank account, correct?

 8           A     Yes.

 9           Q     Okay.    And now I'm asking you, how much of

10    that 4 to $5 million, roughly, have you transferred

11    into Free Speech Systems?

12           A     I don't have the numbers in front of me.

13           Q     So the answer is you don't know?

14           A     Well, do I have your permission to go

15    speculate here, like it won't be 100 percent.                I don't

16    have the exact numbers here in front of me.

17           Q     I'm just trying to get a sense of, to the

18    extent that you have a reasonable basis to estimate,

19    that's fine.        I don't want you to just pull a number

20    out of thin air and you have no idea.             If you have a

21    reasonable basis to estimate how much you have

22    reinvested in Free Speech Systems, please give that

23    answer.

24           A     Well, I don't know about the term reinvested.

25    It's just a capital, you know, injection to the


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 1    company.          It's -- it 1 s -- some company bills have been

 2    directly out of my bank account, my private bank

 3    account, just for expediency.             Instead of just

 4    transferring it into Free Speech Systems and having

 5    that, but more than 2 million has been transferred into

 6    Free Speech Systems and paid out for back bills.                And

 7    then others has gone to legal bills.             And then other

 8    has gone to buy product so that we have product to

 9    sell.

10                                And it's my intent to do that with

11    basically all of the funds.             I may keep some to

12    reimburse myself for past -- because I'm paid

13    privately, but my intent is to currently spend about 90

14    percent of it in -- into keeping Free Speech afloat

15    and         and

16            Q         As it stands right now, I understand your

17    testimony to be that as of today you estimate that

18    about 2 million of the cryptocurrency proceeds that you

19    cashed out, you have injected into Free Speech Systems,

20    correct?

21            A         No.   If memory serves, over 2 million directly

22    into Free Speech Systems.          And then I've been paying

23    other substantive bills for Free Speech systems

24    directly out of my private account.

25            Q         I'm -- I'm leaving out the bills for a minute.


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 1    I'm just talking about direct transfer of money from

 2    your personal account to Free Speech Systems comprised

 3    of the cryptocurrency proceeds, that your testimony is

 4    that that amounts to approximately $2 million,

 5    correct?

 6            A    I think it's approaching 3 million.

 7            Q    Okay.     Fair enough.      And then you claim that

 8    you also used cash within your personal account, since

 9    May of this year, to pay Free Speech Systems' bills; is

10    that right?

11            A    Yeah, we paid a $344,000 bill for the

12    bankruptcy yesterday out of it, out of my personal

13    account, that's an example.

14            Q    Okay.     A $344,000 bill for the bankruptcy

15    associated with what?

16            A    I mean,    I just do my show and you guys -- just

17    a big, long war you got going on, so ...

18            Q    Okay.     Well, you just -- you just testified

19    that you paid $344,000 yesterday.            What did you think

20    you were paying for?

21            A    Paying for things associated with the

22    bankruptcy.

23            Q    Who was the payee?

24            A    It was a -- it was a long list.           It was a long

25    bill.


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 1    it again.

 2                              You'd agree with me that since

 3    PQPR's formation, you, either directly or indirectly,

 4    have had a controlling majority ownership stake,

 5    correct?

 6                              MR. ATKINSON:      Objection to form.

 7    You can answer.

 8            A    Yes.

 9            Q     (By Mr. Mattei)      Do you recall, Mr. Jones, in

10    connection with your divorce from Kelly Jones that you

11    had a valuation conducted of Free Speech Systems and

12    PQPR?

13                              MR. ATKINSON:      Objection to form.

14    You can answer.

15            A    I do.

16            Q     (By Mr. Mattei)      And that valuation was

17    conducted for use in connection with your divorce,

18    correct?

19            A    Yes.

20            Q    Do you know if that valuation was presented to

21    the court presiding over your divorce?

22            A    I think it was.

23            Q    Okay.    Mr. Jones, I'm going to show you what

24    we've marked as Exhibit 185.           And showing you Page 1.

25    Do you have before you the valuation that was conducted


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 9           Q      (By Mr. Mattei)      Okay.    So your testimony is

10    that the majority of money that PQPR makes from the

11    sale of supplements, it then reverts back to Free

12    Speech Systems to pay for advertising, correct?

13           A     Yeah

14                              MR. ATKINSON :     Objection to form.

15    You can answer.

16           Q      (By Mr. Mattei)      Is that correct?

17           A     Well, here's the thing.         I shouldn't even

18    speculate or try to be helpful.            It doesn ' t matter .

19    Just make up whatever you want.            Just keep going.

20           Q      (By Mr. Mattei)      Mr. Jones, you're the owner

21    of Free Speech Systems, correct?

22           A     Yes .

23           Q     Okay.    You just testified that the profits

24    made by PQPR are sent back to Free Speech Systems to

25    pay for advertising; did you not?


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15                              I understand from your testimony

16    that you believe that David Jones is claiming that

17    under PQPR's agreement with Free Speech Systems, Free

18    Speech Systems was supposed to send a percentage of

19    sale proceeds to PQPR?

20           A     Yeah, I forget the exact agreement .           You'd

21    have to -- I forget the exact agreement.              The point is

22    is it's not being paid under what the agreement is .

23           Q     Right.    And I'm just trying to figure out

24    what's not being paid.         I take it that you -- it ' s a

25    percentage of the sale proceeds that PQPR claims it was


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 1    owed

 2           A     I don't know .     It's something -- I don ' t

 3    remember.     In fact,    I shouldn ' t even -- I'm just trying

 4    to be helpful, but I just don't remember.

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 8                              Of Free Speech Systems' current

 9    employees, your testimony is that you are the most

10    knowledgeable person to testify concerning the

11    relationship between Free Speech Systems and PQPR,

12    correct?

13            A    Yeah, because none of them even know anything.

14    They just run the radio and TV show.             And then

15    accounting just, under the agreement, pays -- pays

16    PQPR.

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 1    NO. X-06-UWY-CV-XX-XXXXXXX-S                SUPERIOR COURT

 2    ERICA LAFFERTY, ET AL.                      COMPLEX LITIGATION
                                                     DOCKET
 3

 4    V.                                          AT WATERBURY

 5    ALEX EMRIC JONES, ET AL.                    OCTOBER 21, 2021

 6

 7    NO. X-06-UWY-CV-XX-XXXXXXX-S                SUPERIOR COURT

 8    WILLIAM SHERLACH                            COMPLEX LITIGATION
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10    V.                                          AT WATERBURY

11    ALEX EMRIC JONES, ET AL.                    OCTOBER 21, 2021

12

13    NO. X-06-UWY-CV-XX-XXXXXXX-S                SUPERIOR COURT

14    WILLIAM SHERLACH, ET AL.                    COMPLEX LITIGATION
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15

16    V.                                          AT WATERBURY

17    ALEX EMRIC JONES, ET AL.                    OCTOBER 21, 2021

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                            REPORTER 1 S CERTIFICATION
21                          DEPOSITION OF ALEX JONES
                                  JUNE 21, 2022
22

23

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25           I, VANESSA S. ROBERTSON, Certified Shorthand


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 1    Reporter in and for the State of Texas, hereby certify

 2    to the following:

 3           That the witness, ALEX JONES, was duly sworn by

 4    the officer remotely and that the transcript of the

 5    oral deposition is a true record of the testimony given

 6    by the witness;

 7           That the deposition transcript was submitted on

 8
      - - - - - - - - - - - - , 2022 to MR. CAMERON ATKINSON, for
 9    examination, signature and return to me by

10                             2022.
      ---------            I




11           That the amount of time used by each party at the

12    deposition is as follows:

13                 MR. CHRISTOPHER MATTEI - 2 hours, 32 minutes

14                 MR. MARIO CERAME - 15 minutes

15           That pursuant to information given to the

16    deposition officer at the time said testimony was

17    taken, the following includes counsel for all parties

18    of record:

19                 MR. CHRISTOPHER M. MATTEI, Attorney for

20                 Plaintiff.

21                 MR. CAMERON ATKINSON, Attorney for Defendant.

22                 MR. MARIO CERAME, Attorney for Defendant.

23           I further certify that I am neither counsel for,

24    related to, nor employed by any of the parties or

25    attorneys in the action in which this proceeding was


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 1    taken, and further that I am not financially or

 2    otherwise interested in the outcome of the action.

 3           Further certification requirements pursuant to

 4    Rule 203 of TRCP will be certified to after they have

 5    occurred.

 6           Certified to by me this                day of

 7    A . D., 2022.

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15                              VANESSA S. ROBERTSON
                                TEXAS CSR 4930
16                              EXPIRATION Date : 04/30/2022
                                FIRM REGISTRATION No. 343
17
                                U. S. LEGAL SUPPORT
18                              8144 WALNUT HILL LANE
                                SUITE 350
19                              DALLAS, TEXAS 75231
                                (214) 741-6001
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